        Case: 4:18-cv-00168-DMB-RP Doc #: 2 Filed: 08/13/18 1 of 2 PageID #: 19



                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

  UNITED STATES OF AMERICA,

                  Plaintiff,                             Civil Action No.4:18-cv-00168 DMB-RP

   v.

  MISSISSIPPI DELTA COMMUNITY
  COLLEGE,

                 Defendant.


                               NOTICE OF VOLUNTARY DISMISSAL

        Plaintiff, the United States of America (“United States”), files this Notice of Voluntary

Dismissal of its claim, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure

because the parties have reached a settlement. Such dismissal is with prejudice, and each party is

to bear its own costs, including attorney fees.

Dated: August 8, 2018

                                   JOHN M. GORE
                                   Acting Assistant Attorney General
                                   Civil Rights Division

                       BY:         DELORA L. KENNEBREW (GA Bar No. 414320)
                                   Chief
                                   Employment Litigation Section

                                   /s/ Karen D. Woodard
                                   KAREN D. WOODARD (MD Bar, no number)
                                   Principal Deputy Chief
                                   Employment Litigation Section
                                   Karen.Woodard@usdoj.gov

                                   /s/ Torie A. Atkinson
                                   TORIE A. ATKINSON (NY Bar, no number)
                                   Trial Attorney
                                   U.S. Department of Justice


                                                  1
Case: 4:18-cv-00168-DMB-RP Doc #: 2 Filed: 08/13/18 2 of 2 PageID #: 20



                      Civil Rights Division
                      Employment Litigation Section
                      950 Pennsylvania Avenue, NW
                      Patrick Henry Building, Room 4239
                      Washington, DC 20530
                      Torie.Atkinson@usdoj.gov
                      Telephone: (202) 305-3544
                      Facsimile: (202) 514-1005

                      WILLIAM C. LAMAR
                      United States Attorney for the Northern District of Mississippi

                      /s/Ava N. Jackson
                      AVA N. JACKSON (MS Bar No. 2959)
                      Assistant United States Attorney
                      Northern District of Mississippi
                      900 Jefferson Ave.
                      Oxford, MS 38655
                      Ava.Jackson@usdoj.gov
                      Telephone: (662) 234-3351
                      Facsimile: (662) 234-3318

                      Attorneys for Plaintiff United States of America




                                    2
